      Case 1:16-cv-00074-DMT-CRH Document 288 Filed 01/11/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Joe R. Whatley, Jr., solely in his              )
capacity as the WD Trustee of th                )
WD Trust,                                       )
                                                )               ORDER
                Plaintiff,                      )
                                                )
        vs.                                     )
                                                )
Canadian Pacific Railway Limited,               )
Canadian Pacific Railway Company,               )
Soo Line Corporation, and Soo Line              )
Railroad Company,                               )               Case No. 1:16-cv-074
                                                )
                Defendants.                     )


        The court held a status conference with the parties by telephone on January 5, 2021.

Pursuant to its discussion with the parties, the court shall reschedule the final pretrial conference and

trial in this matter. Accordingly, the final pretrial conference set for March 9, 2021, shall be

rescheduled for September 7, 2021, at 10:00 a.m. by telephone. To participate in the conference,

the parties should dial (877) 810-9415 and enter access code 8992581. The trial set for March 23,

2021, shall be rescheduled for September 21, 2021, at 9:00 a.m. in Bismarck (courtroom #1) before

Judge Traynor. A four (4) day trial is anticipated.

        IT IS SO ORDERED.

        Dated this 11th day of January, 2021.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
